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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


 U.S. WELL SERVICES, LLC                           §
              Plaintiff,                           §
                                                   §               Case No. 4:22-cv- 00266
 v.                                                §
                                                   §
 ACME TRUCK LINES, INC.                            §
              Defendant.                           §


                                 RULE 7.1 STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned attorneys

of record for Plaintiff U.S. Well Services, LLC hereby disclose the following:

       1. Plaintiff U.S. Well Services, LLC is a wholly owned subsidiary of USWS Holdings,

LLC, whose parent corporation is U.S. Well Services, Inc.

       2. U.S. Well Services, Inc. is a publicly traded company (NASDAQ: USWS). U.S. Well

Services, Inc. has no parent corporation, and no publicly traded company owns more than

10% of its stock.

DATED: February 14, 2022


                                           Respectfully submitted,
                                           LANZA LAW FIRM, PC


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                              ATTORNEYS FOR PLAINTIFF U.S.
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